IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) CASE NO. 18-CR-2034
)
Plaintiff, )
)
Vv. ) DEFENDANT’S MOTION FOR
) DOWNWARD DEPARTURE AND
RANDY CONSTANT, ) DOWNWARD VARIANCE
Defendants

 

The Defendant, Randy Constant, moves this court for a downward departure and/or a
downward variance from the advisory guideline sentencing range calculated in his final
presentence investigation report (“PSIR”). In support of his motion, Mr. Constant states as
follows:

1. After all adjustments, the PSIR calculates an advisory guideline sentencing range
for Mr. Constant of 188 to 235 months based upon an offense level of 36 and a criminal history
category of I. Mr. Constant does not object to that calculation. He believes, however, that his
sentence should be substantially below that range.

2. Mr. Constant first seeks a downward departure from the guideline sentencing
range on the basis that the offense level determined under U.S.S.G. §2B1.1 substantially
overstates the seriousness of his offense. This is true particularly because the loss figure
calculated under the guidelines produces an extremely high guideline sentencing range, yet the
actual loss to the victims in this case is highly diffuse, very small as to any individual victim,
immeasurable as a practical matter, and imperceptible. A downward departure under such

circumstances is authorized under §2B1.1 n. 21(C).

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3. Mr. Constant also seeks a downward variance from the advisory guideline range.
First, to the extent that this Court does not grant him a downward departure on the basis
requested in this motion, he requests that the Court grant him similar relief but in the form of a
downward variance.

4. Additionally, Mr. Constant seeks a downward variance on various other grounds,
including the odd failure of §2B1.1 as applied here to give him credit for the undisputed value of
the grain he sold in the transactions for which he has been prosecuted, the degree to which
§2B1.1 generally overstates the seriousness of certain financial crimes by according too much
weight to the dollar-value of the transactions involved as compared to all other sentencing
factors, and a consideration of the general sentencing factors under 18 U.S.C. §3553(a). Mr.
Constant is separately filing a sentencing memorandum that more fully explains the bases for his
requested downward departure and/or downward variance.

WHEREFORE, the Defendant, Randy Constant, prays this court for a downward
departure and/or downward variance from the advisory guideline sentencing range in this case.

THE WEINHARDT LAW FIRM

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PROOF OF SERVICE

The undersigned certifies that the foregoing
instrument was served upon the parties to this
action by serving a copy upon each of the attorneys
listed below on August 9, 2019 by

O U.S. Mail O FAX

O Hand Delivered OU Electronic Mail

oO FedEx/ Overnight
Carrier EDMS

All counsel of record

Signature: /s/ Michele Baldus

 

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